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 6
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 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-102-2 GEB
12
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
13                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                          [PROPOSED] FINDINGS AND ORDER
14
     EDUARDO SALINAS-GARCIA,                            DATE: September 29, 2017
15                                                      TIME: 9:00 a.m.
                                  Defendant.            COURT: Hon. Garland E. Burrell, Jr.
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17
                                                 STIPULATION
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           1.      By previous order, this matter was set for status on September 29, 2017.
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           2.      By this stipulation, defendant now moves to continue the status conference until
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     November 17, 2017, and to exclude time between September 29, 2017, and November 17, 2017, under
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     Local Code T4.
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           3.      The parties agree and stipulate, and request that the Court find the following:
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                   a)      The government has represented that the discovery associated with this case
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           includes 10,126 Bates-stamped items, including bank records, phone records, and videos. All of
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           this discovery has been either produced directly to counsel and/or made available for inspection
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           and copying.
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                   b)      Counsel for defendant desires additional time to review the discovery and consult
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           with his client regarding legal options.

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]      1
30    FINDINGS AND ORDER
               Case 2:15-cr-00102-KJM Document 114 Filed 09/27/17 Page 2 of 3


 1                 c)     Counsel for defendant believes that failure to grant the above-requested

 2        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3        into account the exercise of due diligence.

 4                 d)     The government does not object to the continuance.

 5                 e)     Based on the above-stated findings, the ends of justice served by continuing the

 6        case as requested outweigh the interest of the public and the defendant in a trial within the

 7        original date prescribed by the Speedy Trial Act.

 8                 f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9        et seq., within which trial must commence, the time period of September 29, 2017 to November

10        17, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

11        Code T4] because it results from a continuance granted by the Court at defendant’s request on

12        the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

13        best interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
30   FINDINGS AND ORDER
             Case 2:15-cr-00102-KJM Document 114 Filed 09/27/17 Page 3 of 3


 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: September 25, 2017                               PHILLIP A. TALBERT
 6                                                           United States Attorney
 7
                                                             /s/ AMANDA BECK
 8                                                           AMANDA BECK
                                                             Assistant United States Attorney
 9
10 Dated: September 25, 2017                                 /s/ CHRISTOPHER COSCA
                                                             CHRISTOPHER COSCA
11
                                                             Counsel for Defendant
12                                                           EDUARDO SALINAS-
                                                             GARCIA
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15                                          FINDINGS AND ORDER

16          IT IS SO FOUND AND ORDERED.

17          Dated: September 27, 2017

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       3
30    FINDINGS AND ORDER
